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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                        Plaintiff,           )
                                             )
        v.                                   )      Cause No. 1:07-cr-0090-WTL-DKL-2
                                             )
 ANGEL S. TURNER,                            )
                                             )
                        Defendant.           )

                  Order Adopting Report and Recommendation

        Having reviewed Magistrate Judge Debra McVicker Lynch=s Report and

 Recommendation that Angel S. Turner=s supervised release be modified, pursuant to 18 U.S.C.

 '' 3401(i) and 3583(e) and Rule 32.1(a)(1) Federal Rules of Criminal Procedure, the Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and ORDERS:

        (a)    Ms. Turner’s supervised release is modified;

        (b)    Ms. Turner is placed on home detention with RF monitoring to be paid for by the
               defendant for a period of 120 days;

        (c)    Ms. Turner is placed on home detention from each weekend starting on Friday at
               3:30 p.m. to Monday at 6:00 a.m. at her mother’s residence in Columbus, Indiana;
               and

        (d)    all other terms of supervised release remain the same.



        SO ORDERED.


        Date: 7/24/14                            _______________________________
                                                 Hon. William T. Lawrence, Judge
                                                 United States District Court
                                                 Southern District of Indiana
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